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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

MICHIGAN URGENT CARE &
PRIMARY CARE PHYSICIANS, P.C.,

      Plaintiff,                                      Case No. 15-10122
                                                      HON. DENISE PAGE HOOD
v.

LEGACY 2011 CREDIT INVESTOR, LLC.,

      Defendant.
                                              /

                        ORDER DISMISSING ACTION

      On March 10, 2015, Plaintiff filed a Notice of Voluntary Dismissal.

      Accordingly,

      IT IS ORDERED that this action is DISMISSED without prejudice pursuant to

Fed. R. Civ. P. 41(a)(1).

                            S/Denise Page Hood
                            Denise Page Hood
                            United States District Judge

Dated: March 17, 2015

I hereby certify that a copy of the foregoing document was served upon counsel of
record on March 17, 2015, by electronic and/or ordinary mail.

                            S/LaShawn R. Saulsberry
                            Case Manager
